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    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13
                                         UNITED STATES DISTRICT COURT
 14
                                   CENTRAL DISTRICT OF CALIFORNIA
 15
 16 FRANCESCA GREGORINI,                                   Case No. 2:20-cv-00406-JFW-JC
 17                                      Plaintiff,        DECLARATION OF CYDNEY
                                                           SWOFFORD FREEMAN IN
 18            vs.                                         SUPPORT OF DEFENDANTS’
                                                           MOTION TO DISMISS AND
 19 APPLE INC., a California corporation;                  REQUEST FOR JUDICIAL
    M. NIGHT SHYAMALAN, an                                 NOTICE
 20 individual, BLINDING EDGE
    PICTURES, INC., a Pennsylvania
 21 corporation; UNCLE GEORGE
    PRODUCTIONS, a Pennsylvania
 22 corporate; ESCAPE ARTISTS LLC, a
    California limited liability company;
 23 DOLPHIN BLACK PRODUCTIONS, a
    California corporation; TONY
 24 BASGALLOP, an individual; ASHWIN
    RAJAN, an individual; JASON
 25 BLUMENTHAL, an individual; TODD
    BLACK, an individual; STEVE TISCH,
 26 an individual; and DOES 1-10, inclusive,
 27                                      Defendants.
 28
                                                       1                    DAVIS WRIGHT TREMAINE LLP
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  1                   DECLARATION OF CYDNEY SWOFFORD FREEMAN
  2            I, Cydney Swofford Freeman, declare as follows:
  3            1.        I am an attorney admitted to practice before all courts of the State of
  4 California and before this Court. I am an associate in the law firm of Davis Wright
  5 Tremaine LLP, and I am one of the attorneys representing defendants Blinding
  6 Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc. (“Apple”), Escape
  7 Artists, Inc. (erroneously sued as Escape Artists LLC), Dolphin Black Productions,
  8 M. Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd
  9 Black, and Steve Tisch (collectively “Defendants”) in this matter. If called to
 10 testify, I could and would competently testify to these facts.
 11            2.        In support of their concurrently filed motion to dismiss, Defendants are
 12 separately lodging with the Court ten DVDs containing Exhibits 1 through 10.
 13 Each exhibit is an episode of Defendants’ television series Servant, as obtained
 14 from Apple, with an added watermark as required by Apple’s corporate policy.
 15            a.        Exhibit 1 is a true and correct copy of episode 101 (“Reborn”), which
 16                      was released to Apple TV+ subscribers on November 28, 2019.
 17            b.        Exhibit 2 is a true and correct copy of episode 102 (“Wood”), which
 18                      was released to Apple TV+ subscribers on November 28, 2019.
 19            c.        Exhibit 3 is a true and correct copy of episode 103 (“Eel”), which was
 20                      released to Apple TV+ subscribers on November 28, 2019.
 21            d.        Exhibit 4 is a true and correct copy of episode 104 (“Bear”), which
 22                      was released to Apple TV+ subscribers on December 6, 2019.
 23            e.        Exhibit 5 is a true and correct copy of episode 105 (“Cricket”), which
 24                      was released to Apple TV+ subscribers on December 13, 2019.
 25            f.        Exhibit 6 is a true and correct copy of episode 106 (“Rain”), which
 26                      was released to Apple TV+ subscribers on December 20, 2019.
 27            g.        Exhibit 7 is a true and correct copy of episode 107 (“Haggis”), which
 28                      was released to Apple TV+ subscribers on December 27, 2019.
                                                   2                     DAVIS WRIGHT TREMAINE LLP
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  1            h.        Exhibit 8 is a true and correct copy of episode 108 (“Boba”), which
  2                      was released to Apple TV+ subscribers on January 3, 2020.
  3            i.        Exhibit 9 is a true and correct copy of episode 109 (“Jericho”), which
  4                      was released to Apple TV+ subscribers on January 10, 2020.
  5            j.        Exhibit 10 is a true and correct copy of episode 110 (“Balloon”),
  6                      which was released to Apple TV+ subscribers on January 17, 2020.
  7            I declare under penalty of perjury under the laws of the United States of
  8 America and the State of California that the foregoing is true and correct, and that
  9 this Declaration was executed on the 18th day of February, 2020, in Los Angeles,
 10 California.
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                                                           Cydney Swofford Freeman
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                                                     3                      DAVIS WRIGHT TREMAINE LLP
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